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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 EDDYSTONE RAIL COMPANY, LLC,
                                                  Case No. 2:17-cv-00495-JDW
               Plaintiff,
        v.

 BRIDGER LOGISTICS, LLC, et al.

               Defendants.



                                ORDER AND JUDGMENT

       AND NOW, this 7th day of June, 2024, following a bench trial, and for the reasons

set forth in the accompanying Memorandum, it is ORDERED as follows:

       1.     Judgment is ENTERED against Eddystone Rail Company, LLC and in favor of

all remaining Defendants as to Counts One and Four of the Amended Complaint;

       2.     Judgment is ENTERED against Eddystone and in favor of Ferrellgas L.P.,

Bridger Administrative Services II, LLC, Bridger Marine, LLC, Bridger Rail Shipping, LLC,

Bridger Real Property, LLC, Bridger Storage, LLC, Bridger Swan Ranch, LLC, Bridger

Terminals, LLC, Bridger Leasing, LLC, Bridger Lake, LLC, J.J. Liberty, LLC, and J.J. Addison

Partners, LLC as to Counts Two and Three of the Amended Complaint;

       3.     Judgment is ENTERED in favor of Eddystone and against Bridger Energy,

LLC in the amount of $916,130, as to Counts Two and Three of the Amended Complaint;
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        4.     Judgment is ENTERED in favor of Eddystone and against Bridger

Transportation, LLC in the amount of $1,430,717, as to Counts Two and Three of the

Amended Complaint;

        5.     Judgement is ENTERED in favor of Eddystone and against Ferrellgas

Partners, L.P. and Bridger Logistics, LLC in the amount of $169,327,840, as to Counts Two

and Three of the Amended Complaint; and

        6.     Defendants’ Counterclaim IV against Eddystone for breach of contract

related to the CT meters is DISMISSED AS MOOT.

        It is FURTHERED ORDERED that, for the reasons that I set forth on the record at the

Final Pretrial Conference on September 16, 2022, the Clerk of Court shall SEAL the

accompanying Memorandum.

        It is FURTHER ODERED that the Parties shall work together in good faith to submit

proposed redactions to any portions of the Memorandum that reveal sealed testimony

and/or exhibits. The Parties’ proposals must be consistent with my rulings at trial regarding

sealing and no greater than necessary to protect the underlying information. The Parties

shall        submit     their      proposed         redactions       via      email       to

chambers of judge wolson@paed.uscourts.gov and shall identify where in the record the

redacted information was sealed. The submission shall follow form to the table that is

attached to this Order as Exhibit A. To the extent the Parties do not agree as to one or more

proposed redactions, then they shall submit an accompanying letter, setting forth their


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respective positions as to each proposed redaction. For any proposed redaction, no party’s

argument may exceed 200 words.

      The Clerk of Court shall mark this case closed for statistical purposes.

                                                BY THE COURT:

                                                /s/ Joshua D. Wolson
                                                JOSHUA D. WOLSON, J.




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                               EXHIBIT A

Paragraph    Precise Language For Redaction     Basis For Sealing In Record




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